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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



  City of Almaty, Kazakhstan and BTA
  Bank JSC,

                          Plaintiffs,                            15-CY-5345 (AJN)(KHP)

                  -v-                                                     ORDER

  Mukhtar Ablyazov, Yiktor Khrapunov, Ilyas
  Khrapunov, and Triadou SPY S.A.,

                          Defendants.



ALISON J. NATHAN, District Judge:

         Before the Court is Magistrate Judge Katherine H. Parker's Report & Recommendation

("R&R") recommending that the Court deny both Triadou SPY S .A.' s ("Triadou") request for

clarification of the Court's Order of Attachment and the City of Almaty, Kazakhstan and BTA

Bank's ("Kazakh Entities") request that the Court confirm that certain real property owned by

Syracuse Center LLC is covered by the same Order of Attachment and enjoin Triadou's

subsidiary from executing a mortgage on the property. See Dkt. No. 706; see also Dkt. Nos. 634

&647.

         Under 28 U.S.C. § 636(b)(l), the parties had until June 12, 2018 to file any objections to

Judge Parker's R&R. When a magistrate judge issues findings or recommendations, the district

court "may accept, reject, or modify [them] in whole or in par." 28 U.S.C. § 636(b)(l). When no

party has filed objections to the magistrate's R&R, the Court reviews it only for clear error. See

Gomez v. Brown, 655 F. Supp. 2d 332,341 (S.D.N.Y. 2009). "A decision is 'clearly erroneous'

when the reviewing Court is left with the definite and firm conviction that a mistake has been

committed." Courtney v. Colvin, 13-CY-2884 (AJN), 2014 WL 129051, at *1 (S.D.N.Y. Jan. 14,

2014).


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       The parties having filed no objections to the R&R, and the Court finding no clear error

therein, the Court adopts the R&R in its entirety. The parties' requests are therefore DENIED.

       SO ORDERED.


 Dated: June  ~~   , 2018
        New York, New York


                                                         United States District Judge




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